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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           TERRE HAUTE DIVISION

UNITED STATES OF AMERICA,                      )
               Plaintiff,                      )
                                               )
           v.                                  ) 2:21-mj-00026-CMM-1
                                               )
SHANE M. MEEHAN,                               )
              Defendant.                       )


                     DEFENDANT’S SECOND STATUS REPORT
     Comes now, defendant, Shane Meehan, by counsel, and files this Status Report.
     1. On July 8, 2021, Meehan was charged with Premeditated Murder of a Federal

        Agent [Doc. 10].

     2. On July 9, 2021 an Initial Hearing was attempted in Meehan’s ICU hospital

        room. That initial hearing could not be completed due to Meehan’s condition.

        [Doc. 11].

     3. This Court has ordered defense counsel to file a Status Report every Friday

        regarding Meehan’s readiness to appear in Court and to fully participate in

        future proceedings. [Doc. 11]. Undersigned counsel filed a status report last

        week indicating their belief that Mr. Meehan was not able to appear in court

        and to fully participate in future proceedings.

     4. As indicated in the previous status report Mr. Meehan has since been

        transported from the hospital to a county jail. One or more of undersigned

        counsel have spoken by phone or video with Mr. Meehan on July 19th, 20th,

        21st and 22nd of 2021. Mr. Meehan is still experiencing fluctuating degrees of

        pain, sometimes severe, and continues to receive narcotic pain medication for
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       his injuries. Additionally, Mr. Meehan continues to exhibit labored breathing

       as well as dizziness and nausea when standing or sitting up right.

    5. While Mr. Meehan’s physical condition is improving, he continues to

       experience both long-term and short-term memory loss. Undersigned counsel

       believe that Mr. Meehan could fully participate in an initial hearing by video

       teleconference next week. Counsel do not believe it would be helpful to Mr.

       Meehan’s continued healing to attempt to transport him for court at this point.

       At times he experiences considerable pain and is suffering from other

       symptoms that become debilitating when he is standing or sitting upright for

       any length of time. The facility where Mr. Meehan is being held has the

       capability to conduct this hearing by video teleconference. If Mr. Meehan’s

       condition continues to improve at the same rate, undersigned counsel

       believes he would be able to fully participate in an in-person court hearing the

       week of August 2nd, 2021.

                                      Respectfully submitted,


                                      /s/ Monica Foster
                                      Monica Foster
                                      Chief Federal Defender

                                      /s/ Gwendolyn M. Beitz
                                      Gwendolyn M. Beitz

                                      /s/ Joseph M. Cleary
                                      Joseph M. Cleary
                                      Indiana Federal Community Defenders, Inc.
                                      111 Monument Circle, Suite 3200
                                      Indianapolis, IN 46204
                                      317-383-3520
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                               CERTIFICATE OF SERVICE

       I certify that on July 23, 2021, a copy of the foregoing Status Report was filed
electronically. Notice of this filing will be sent to the following parties of record by
operation of the Court=s electronic filing system. Parties may access this filing through
the Court=s system.

                                           Gwendolyn M. Beitz
                                           Gwendolyn M. Beitz
